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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 M.A., an individual,                  )
                                       )       CASE NO. 2:19-cv-00849
               Plaintiff               )
                                       )       Judge Algenon L. Marbley
        vs.                            )
                                       )       Magistrate Elizabeth Preston Deavers
 WYNDHAM HOTELS AND                    )
 RESORTS, et al.,                      )
                                       )
               Defendants.             )


            DEFENDANT CHOICE HOTELS INTERNATIONAL, INC.’S
     REPLY IN SUPPORT OF MOTION TO DISMISS PLAINTIFF’S COMPLAINT




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I.     INTRODUCTION

       Nothing in Plaintiff’s Consolidated Response to the Defendants’ Motions to Dismiss

saves Plaintiff’s Complaint as to Choice from dismissal. Plaintiff simply has not, and cannot,

plausibly allege that Choice actually “participated” in any venture that was engaged in sex

trafficking. Nor has Plaintiff plausibly alleged a causal nexus between any affirmative conduct

by Choice in furtherance of the alleged sex trafficking venture and Choice’s “knowing” receipt

of any financial benefit. Plaintiff has failed to explain how the TVPRA supports a finding of

liability against a hotel franchisor, and her conclusory assertions of agency, joint employer, and

single employer are also wholly insufficient to impart liability as to Choice.

II.    ARGUMENT

       A. Plaintiff has not plausibly alleged that Choice “participated” in any “venture”
          that it either “knew or should have known” was engaged in sex trafficking.

       In her Response, Plaintiff attempts to stretch the TVPRA far beyond its plain language

meaning and clear intent. Plaintiff asserts that a “financial beneficiary claim” under the TVPRA

“need not allege knowing assistance or actual knowledge that the venture in which it participated

violated the TVPRA, only that the entity should have known the venture from which it benefitted

violated the TVPRA.” (Doc. # 66, PageID 949.) The fundamental problem with Plaintiff’s

position is that it completely disregards the plain language of the TVPRA requiring that the

alleged actor “knowingly benefit[ ]” from “participation in a venture which that person knew or

should have known has engaged in an act in violation of this chapter.” See 18 U.S.C. § 1595

(emphasis added). Plaintiff asks this Court to ignore the plain meaning of the TVPRA which

clearly requires proof of actual “participation” in a sex trafficking venture. See, e.g., United

States v. Am. Trucking Ass’ns, 310 U.S. 534, 543 (1940) (“There is, of course, no more

persuasive evidence of the purpose of a statute than the words by which the legislature undertook

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to give expression to its wishes.”); Dept. of Housing and Urban Dev. v. Rucker, 535 US. 125,

134-35 (2002) (“To avoid a law’s plain meaning in the absence of ambiguity ‘would trench upon

the legislative powers vested in Congress by Art. I, § 1, of the Constitution.’”)

       Plaintiff does not and cannot allege Choice’s “participation” in what it either “knew or

should have known” was a “sex trafficking venture” whatsoever. Instead, Plaintiff has only

alleged, in the most conclusory fashion, that “Defendants knowingly benefitted financially from

the presence of traffickers at their hotel properties by consistently renting rooms where a

trafficker repeatedly sold the Plaintiff for sex at Defendants’ hotel properties and accordingly,

participated in the trafficking venture that exploited her by the various means described herein.”

(Doc. # 66, PageID 948 (citing Doc. #1 at ¶ 108.)) This bald allegation is insufficient. As the

Sixth Circuit recognized in United States v. Afyare, 632 F. App’x 272, 279 (6th Cir. 2016):

       A “venture,” according to Black’s Law Dictionary, is “[a]n undertaking that
       involves risk; esp., a speculative commercial enterprise.” And according to the
       Random House Webster’s Unabridged Dictionary, a “venture” is “an undertaking
       involving uncertainty as to the outcome, esp. a risky or dangerous one”; or “a
       business enterprise or speculation in which something is risked in the hope of
       profit; a commercial or other speculation”; or “the money, ship, cargo,
       merchandise, or the like, on which risk is taken in a business enterprise or
       speculation.” Clearly, each of these definitions requires an undertaking of some
       kind directed to some defined end.

Here, Plaintiff has not alleged any specific action or “undertaking” by Choice, Buckeye

Hospitality, or any of Choice’s other alleged agents or employees, as it relates to the alleged sex

trafficking venture at issue in this case, as is required to state a claim for a violation under the

TVPRA. See Afyare, 632 F. App’x at 286 (“Two or more people who engage in sex trafficking

together are a sex-trafficking venture.”).

       Plaintiff’s reliance on Ricchio v. McLean, 843 F. 3d 553 (1st Cir. 2017) is similarly

misplaced.   In that case, the plaintiff specifically alleged that the hotel operators and the

guest/trafficker enthusiastically expressed intent to reinstate their commercial dealings by high-
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fiving while speaking about “getting this thing going again,” that the hotel operators ignored the

plaintiff’s plea for help and showed indifference to her obvious physical deterioration, and that

they watched the guest/trafficker grab, kick, and force the plaintiff back into a room when she

tried to escape. The court found that these allegations were “plausible support” for pleading a

violation of the TVPRA. See id.

       The conduct alleged in this case comes nowhere close to that pled in Ricchio. And, more

importantly, Ricchio did not involve allegations against a franchisor. Plaintiff’s generic assertion

in this case that all Defendants are liable as a result of the mere alleged presence of an alleged

sex trafficker at the various hotels, without more, fails to plausibly state a claim against Choice

for a violation of the TVPRA. See Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007)

(Rule 8 “demands more than an unadorned, the-defendant-unlawfully-harmed-me accusation”).

       B. Plaintiff does not, and cannot, plausibly allege that Choice benefitted
          “knowingly” from the alleged sex trafficking venture at issue in this case.

       In addition to failure to plausibly allege actual “participation,” Plaintiff has failed to

allege facts regarding how Choice “knowingly benefitted” financially or otherwise from the

alleged sex trafficking venture in this case. See 18 U.S.C. § 1595 (“An individual who is a

victim of a violation of this chapter may bring a civil action against the perpetrator (or whoever

knowingly benefits, financially or by receiving anything of value from participation in a venture

which that person knew or should have known has engaged in an act in violation of this chapter)

….”). In order to plead her claim, Plaintiff must allege specific facts tying the alleged sex

trafficking venture to the “knowing” receipt of a benefit by Choice. The fact remains that

Plaintiff does not and cannot allege that Choice, Buckeye Hospitality, or any of Choice’s other

alleged agents or employees, had any knowledge of or interaction with Plaintiff or her alleged




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trafficker or knew that she was being trafficked, much less how Choice, as a franchisor, knew

that any funds it received were in any way connected to the circumstances alleged.

       C. Choice cannot be held liable under the TVPRA for an alleged failure to
          implement policies and procedures.

       Plaintiff posits that Choice should be held liable under the TVPRA because it allegedly

“assumed the duty to set policies and procedures relative to how its franchisees should prevent

sex trafficking on its branded properties” and “failed or otherwise refused to implement its own

or other appropriate policies and procedures[.]” (Doc. # 66, PageId 964.) Even taking these

allegations as true, they are legally insufficient to state a claim for violation of the TVPRA.

Liability under the TVPRA requires actual affirmative “participation” in a sex trafficking

“venture.” It does not reach “mere negative acquiescence” (see Afyare, 632 F. App’x at 286) or

purported failure to prevent sex trafficking.

       D. Plaintiff’s claim under the TVPRA cannot be sustained under an agency or joint
          employer theory.

       In response to Choice’s argument with respect to her agency, joint employer, and single

employer allegations, Plaintiff states that such issues are “for the trier of fact and [ ] not properly

considered pre-discovery without any factual development.” (Doc. # 66, PageID 961, 965-66.)

But, Rule 8 “does not unlock the doors of discovery for a plaintiff armed with nothing more than

conclusions.” Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009). Plaintiff’s Response demonstrates

that she has nothing beyond mere conclusions in support of her claim against Choice.

       In support of her agency theory, Plaintiff simply argues that “Choice and Wyndham are

businesses in the hospitality industry that manage and operate hotel brands including their

respective Defendant branded properties in Columbus, Ohio where Plaintiff was trafficked for

sex.” (Doc. # 66, PageID 962.) Likewise, Plaintiff contends that Choice and Wyndham are



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“joint employers because of the brand specific controls that each separately requires their

branded hotel properties to follow, they are each a joint employer of the staff at their respective

brand hotels.” (Doc. # 66, PageID 965.) Beyond her failure to differentiate her allegations

between Defendants, Plaintiff’s Complaint and Response are devoid of factual development with

respect to how Choice allegedly manages or operates the hotel at issue so as to support holding it

liable for any alleged acts or omissions of Buckeye Hospitality. What’s more, as noted in

Buckeye Hospitality’s Motion to Dismiss, Plaintiff has not even alleged any specific facts related

to underlying acts or omissions by Buckeye Hospitality at all. (Doc. # 39-1, PageId 206.)

       In addition to these obvious pleading deficiencies, Plaintiff’s allegations do not pass

substantive muster.    Plaintiff still has not articulated any legal basis for holding a franchisor

liable under the TVPRA for the alleged actions or inactions of its franchisee. It bears repeating

that liability under the TVPRA requires that the alleged actor “knowingly” receive a benefit from

actual, affirmative “participation” in a sex trafficking venture. See 18 U.S.C. § 1595.

III.   CONCLUSION

       For all the foregoing reasons, Choice’s Motion to Dismiss Plaintiff’s claims should be

granted, and all claims asserted against Choice should be dismissed with prejudice.

                                                   Respectfully submitted,

                                             /s/ Jennifer Snyder Heis
                                             Jennifer Snyder Heis (#0076181) (Trial Attorney)
                                             ULMER & BERNE LLP
                                             600 Vine Street, Suite 2800
                                             Cincinnati, Ohio 45202-2409
                                             (513) 698-5000
                                             (513) 698-5001 FAX
                                             jheis@ulmer.com

                                             and



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                                     Alyson Terrell (#0082271)
                                     ULMER & BERNE LLP
                                     65 East State Street, Suite 1100
                                     Columbus, Ohio 43215
                                     (614) 229-0042
                                     (614) 229-0043 FAX
                                     aterrell@ulmer.com

                                     and

                                     Sara M. Turner (pro hac vice)
                                     BAKER, DONELSON, BEARMAN, CALDWELL
                                     & BERKOWITZ
                                     Wells Fargo Tower
                                     420 20th Street North, Suite 1400
                                     Birmingham, AL 35203
                                     (205) 250-8316
                                     smturner@bakerdonelson.com

                                     Attorneys for Defendant
                                     Choice Hotels International, Inc.




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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and accurate copy of the foregoing was
electronically filed through the Court’s Electronic Case Filing System (CM/ECF) on the 24th
day of June, 2019, and Notice will thus be sent to all registered parties, per Civil Rule 5(b)(2)(E).

                                              /s/ Jennifer Snyder Heis
                                              Jennifer Snyder Heis (0076181)
                                              Counsel for Defendant Choice Hotels
                                              International, Inc.




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